
*457OPINION.
Smith :
At the hearing of these cases it was admitted by counsel for the respondent that section 1208 of the Bevenue Act of 1926 was applicable in the determination of the tax liability of Bernice K. Bul-lard for the year 1920, and that his tax liability for that year should be computed upon the basis of an installment transaction.
The only other question in issue is the March 1, 1913, fair market price or value of the 8,117 acre tract of land, a one-third undivided interest in which was owned by each of the petitioners, which tract was sold in 1919. The respondent has conceded a value of $20 per acre for a portion of the tract but has determined the fair market *458price or value on March 1, 1913, of the balance of the tract, amounting to 6,500 acres, at $17 per acre instead of the claimed value of $20 per acre.
Five persons well qualified to give an opinion as to the value of the land on March 1, 1913, have deposed that the fair market price or value of the entire track was at least $20 per acre. We are of the opinion that the fair market price or value on the basic date was $20 per acre.
Judgment will he entered on 10 days’ notice, under Rule 50.
